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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

UNITED STATES OF AMERICA §
                                                 § CRIMINAL NO. 6:25-CR- _
v-                               §
                                                 § JUDGES                   i ••
CALEB TIMOTHY FOX §

                                     INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                     COUNT ONE

                                          Violation: 18 U.S.C. §§ 933(a)(1) and (a)(3)
                                          (Attempt or Conspiracy to Commit Firearms
                                          Trafficking)

       On or about March 10, 2025, in the Eastern District of Texas, the defendant,

Caleb Timothy Fox, did knowingly attempt and conspire to ship, transport, transfer,

cause to be transported, and otherwise dispose of one and more firearms, to wit:


       1. a Winchester, model 190, .22LR caliber rifle;

       2. a Springfield Arms, model 187s, .22LR caliber rifle;

       3. a Remington, model S97, .22LR caliber rifle;

       4. an American Tactical, 5.56 caliber rifle;

       5. a Glock, model 43x, 9mm caliber pistol; and

       6. a Glock, model 19, 9mm caliber pistol,




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to another person, in or affecting interstate or foreign commerce, while lenowing or

having reasonable cause to believe that the use, carrying, and possession of a firearm by

the recipient would constitute a felony (as defined in 18 U.S.C. § 932(a)).

       In violation of 18 U.S.C. §§ 933(a)(1) and (a)(3).




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              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
           Pursuant to 18 U.S.C. 934(a)d)(A) and (B), and 28 U.S.C. § 2461(c

      As the result of committing the foregoing offense alleged in this indictment, the
defendant herein shall forfeit to the United States, pursuant to 18 U.S.C. 934(a)(1)(A)
and (B), and 28 U.S.C. § 2461(c):

        1. any propert constituting, or derived from, and proceeds the defendant
              obtained, directly or indirectly, as the result of such violations; and

        2. any of the defendant s property used, or intended to be used, in any manner
                or part, to commit, or to facilitate the commission of, such violations.

        Firearms/Ammunition:

        Any and all firearms, ammunition and accessories, including, but not limited to,
        the following:

        a Smith & Wesson, model 66-3, .357 caliber revolver, bearing serial number
        BPS7126.

        U.S. Currency:


        $2,500.00 in United States currency.

        Cash Proceeds:

        A sum of money equal to $15,000.00 in United States currency and all interest and
        proceeds traceable thereto, representing the amount of proceeds obtained by the
        defendant as a result of the offense(s) alleged in this indictment, for which the
        defendants are personally liable.

        Substitute Assets

       If any of the property described above as being subject to forfeiture, as a result of
       any act or omission of the defendant:

               (a) cannot be located upon the exercise of due diligence;
               (b) has been transferred or sold to, or deposited with a third person;
               (c) has been placed beyond the jurisdiction of the court;
               (d) has been substantially diminished in value; or

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                (e) has been commingled with other property which cannot be
                      subdivided without difficulty;

        it is the intent of the United States, pursuant to 18 U.S.C. § 934, to seek forfeiture
        of any other properly of the defendants up to the value of the above forfeitable
        property, including but not limited to all property, both real and personal owned
        by the defendant.

        By virtue of the commission of the offense alleged in this indictment, any and all

interest the defendant has in the above-described property is vested in the United States

and hereby forfeited to the United States pursuant to 18 U.S.C. §£ 934(a)(1)(A) and (B),

and 28 U.S.C. § 2461(c).


                                                   A TRUE BILL



                                                   GRAND JURY FOREPERSON

ABE MCGLOTHIN, JR.
ACTING U.S. ATTORNEY




LUCAS MAC!IICEK                                    Date
Assistant United States Attorney




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
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UNITED STATES OF AMERICA §
                                              § CRIMINAL NO. 6:25-CR-
v.                            §
                                              § JUDGES
                                              §
CALEB TIMOTHY FOX §

                              NOTICE OF PENALTY

                                   COUNT ONE

        Violation: 18U.S.C. §933

        Penalty: Imprisonment for not more than 15 years, a fine not
                           to exceed $250,000, or both, and supervised release of
                                not more than 3 years.


        Special Assessment: $100.00




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